     Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 1 of 16 PageID #: 2641
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                                 IN THE UNITED STATES DISTRICT COURT
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                                    WESTERN DISTRICT OF KENTUCKY                            21 FEB 25 PM 2: 59
                                            AT LOIDSVILLE


             CHEROSCO BREWER,                               )
                                                            )
                    Petitioner                              )
                                                            )
             vs.                                            ) 3:17-cr-00037-DJH-1
                                                            )
                                                            )
             UNITED STATES OF AMERICA,                      )
                                                            )
                     Respondent                             )


                   PETITION FOR LEAVE TO FILE PETITION AND MEMORANDUM IN
                   SUPPORT OF PETITION FOR RELIEF UNDER THE FIRST STEP ACT


                     COMES NOW, Cherosco Brewer, your Petitioner in the instant case, pro se, who

             respectfully files for leave to file this Petition and Memorandum in Support of said

             Petition for relief, pursuant to Section 404(b) of the First Step Act of 2018, and asking

             for the granting of Compassionate Release, reducing Petitioner's sentence instanter to

             time-served, with medical records to be provided by the federal Bureau of Prisons to be

             filed under seal, and in support thereof, states as follows:



                                       STATEMENT OF JURISDICTION

                    This United States District Court for the Western District of Kentucky at

             Louisville has jurisdiction over all offenses against the criminal laws of the United States

             which take place in that district, under 18 U.S.C. Section 3231, 21 U,S.C. Section

             41(a)(l)(b)(l)(A), 21 U.S.C. Section 846, and 28 U.S.C. Section 2255.




                                                           1
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 2 of 16 PageID #: 2642




                                  PROCEDURAL IDSTORY

           Petitioner was indicted in 2017 and charged with violations of 18 USC Section

    :922(g)(l), 924(a)(2), 924(e)(l), Felon in Possession of a Firearm and Ammunition,

   (Count 1); 21 USC 841(a)(l) and (b)(l)(D) Possession With Intent To Distribute

    Marijuana (Count 2); 18 USC Section :924(c)(1 )(A, Possession of a Firearm in

   Furtherance of Drug Trafficking Crime (Count 3): and 21 USC 841(a)(l) and (b)(l)(C),

   Possession With Intent To Distribute Cocaine (Count 4).

           Petitioner was found guilty in 2019 after a jury trial, and he was sentenced on

   August 4 2020 to a total of 240 months, and five years of supervised release. Petitioner

   filed a direct appeal, which still pends, and now timely files this appeal: for relief under

   the First Step Act of 2018, having already exhausted his administrative remedies.



                                   STATEMENT OF FACTS


           Petitioner is currently confined at the Grayson County Detention Center. It is an

   older, overcrowded facility, and often acts as a transfer point for other prisoners It

   contains multiple security levels, and there is considerable turnover in its residents. It has

   also been recognized as a hotbed of COVID-19 by local health authorities. Grayson

   County, Kentucky has had a large number of COVID-19 cases. According to the New

   York Times, "Cases are extremely high and have stayed about the same over the past two

   weeks. The number of hospitalized Covid patients has risen in the Grayson County area."

   There have been numerous cases of COVID-19 at the Detention Center.




                                                 2
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 3 of 16 PageID #: 2643




                                         ARGUMENTS


          L THE CENTER FOR DISEASE CONTROL (CDC) STATES THAT
        INDIVIDUALS WITH CERTAIN HEALTH CONDITIONS ARE AT AN
            INCREASED RISK FOR SEVERE ILLNESS FROM COVID-19

           It is undisputed that Petitioner suffers from a number of diseases, including high

   blood pressure, elevated heart rate, and hypertension,.   He is in a fragile physical state.

           The CDC notes in its COVID-19 advisory that

          COVID-19 is a new disease. Currently there are limited data and information
          about the impact of underlying medical conditions and whether they increase the
          risk for severe illness from COVID-19. Based upon what we know at this time,
          people with the following conditions are at an increase risk might be at an
          increased risk for severe illness...hypertension, diabetes, obesity, diabetes ....

   CDC, July 8, 2020.

          Petitioner contracted COVID-19 while at the jail, is also now suffering from a

   persistent cough, shortness of breath, chest pains, and requires constant medical

   monitoring, which is not available at his institution.


           II. PETITIONER IS AT GRAVE RISK DUE TO ms PRE-EXISTING
           CONDITIONS NOW THAT SHE HAS CONTRACTED COVID-19


          Various courts have made note of the fact that individuals who have contracted

   COVID-19 are still at grave risk, even if they technically "recover" from the initial

   exposure, due to pre-existing weakened immune response.

                  Additionally, the Court finds that there is a chance that   Defendant
          may contract COVID-19 again. Defendant argues that research shows that most
          patients who recover from COVID-19 have neutralizing antibodies, which
          indicates immunity for the affected individual. See Government's Response, die
          332, p. 4. However, the CDC recognizes that it is possible for an individual
          who had COVID-19 to become infected again by the virus. As of July 20, 2020,
          the CDC provides the following advice:




                                                 3
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 4 of 16 PageID #: 2644




                   The immune response, including duration of immunity, to SARS-CoV-2
                   infection is not yet understood. Patients infected with other
                   betacoronaviruses (MERS-CoV, HCoV-OC43), the genus to which
                   SARS-CoV-2 belongs, are unlikely to be re-infected shortly (e.g., 3
                   months or more) after they recover. However, more information is
                   needed to know whether similar immune protection will be observed for
                   patients with COVID-19.

    United States v. Davis, 2020 WL 4049980, at *1 (C.D. Ill. July 20, 2020).

           Additionally, the Department of Justice now concedes that if the Petitioner's

    disease is on the CDC list of those that can prove fatal, such a person qualifies for

    compassionate release.

           United States v. Johnson, 2020 WL 4501513, at *3 (D.S.C. Aug. 5,2020)
            "If an inmate has a chronic medical condition that has been identified by the
           CDC as elevating the inmate's risk of becoming seriously ill from COVID-
           19,7that condition potentially could satisfy the standard of"extraordinary and
           compelling reasons." Under these circumstances, a chronic condition (e., one
           "from which [the defendant] is not expected to recover") reasonably may be
           found to be "serious" and to "substantially diminish[ ] the ability of the defendant
           to provide self-care within the environment of a correctional facility," even if that
           condition would not have constituted an ''extraordinary and compelling reason"
           absent the risk of COVID-19."

    In May of 2020, in response to COVID-19 raging through the nation's prisons, DOJ

    issued an advisory that any individual asserting an underlying physical condition that

    made him vulnerable to death or serious disease from COVID-19 would be considered to

    have established the Extraordinary and Compelling Circumstances" required to establish

    a prima-facie case for Compassionate Release. See: Wise v. United States, Criminal No.

    ELH-18-72, 10 (D. Md. May. 20, 2020).

            "As applied to Wise, the COVID-19 virus presents "extraordinary and
           compelling reasons" that warrant a reduction of his sentence... "just last week, the
           Department of Justice adopted the position that any inmate who suffers from the
           chronic conditions associated with severe illness from COVID-19 are eligible for
           compassionate release. See ECF 185.




                                                 4
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 5 of 16 PageID #: 2645




           The same case found that the Sentencing Commission guidance that previously

    informed the basis for considering whether an individual qualified for the old BOP

    sponsored Compassionate Release process that prevailed prior to the passage of the First

    Step Act of2018 was no longer applicable:

           The growing consensus among judges in this district and elsewhere is that §
           lBl.13 is not a straightjacket. See United States v. Scott,_ F. Supp. 3d ~
           2020 WL 2508894, at *8 (E.D. Wis. May 15, 2020) (describing this as the
           "majority position"); see, e.g., United States v. Mel, TDC-18-0571, 2020 WL
           2041674, at *3 (D. Md. Apr. 28, 2020); United States v. Haynes, No. 93 CR 1043
           (RID), 2020 WL 1941478, at *14 (E.D.N.Y. Apr. 22, 2020); United States
           v. Decatur,_ F. Supp. 3d ~ 2020 WL 1676219, at *2-3 (D. Md. Apr. 6,
           2020); United States v. Redd,_ F. Supp. 3d ~ 2020 WL 1248493, at *8 &
           n.18 (E.D. Va Mar. 16, 2020); United States v. Lisi, _ F. Supp. 3d _ , 2020
           WL 881994, at *3 (S.D.N.Y. Feb. 24, 2020); see ECF 180 at 3-6 (collecting
           cases). Indeed, good reasons exist to doubt that the policy statement is binding.

           For starters, U.S.S.G. § lBl.13 is outdated in light of the FSA. It presupposes that
           § 3582 review is available only upon motion by the BOP, which is no longer
           correct. See U.S.S.G. § lBl.13 cmt. n.4. The commentary also delegates authority
           to the BOP to identify circumstances that warrant compassionate release. See id.
           cint. n.l(D). Moreover, cabining the application of§ 3582 to the scenarios set
           forth in the commentary accompanying U.S.S.G. § lBl.13 is contrary to the FSA,
           which Congress enacted to remove the BOP as the gatekeeper of compassionate
           release. See 164 Cong. Rec. S7314-02 (Dec. 5, 2018) (statement by Sen. Cardin)
           (noting that the FSA was intended to "expand[] compassionate release"). But,
           where a federal statute and Guidelines commentary conflict, the former always
           prevails. See Stinson v. United States, 508 U.S. 36, 40-42 (1993); United States
           v. Allen. 909 F.3d 671,675 (4th Cir. 2018) (Emphasis added.).

           Wise v. United States, Criminal No. ELH-18-72, 8-9 (D. Md. May. 20, 2020).

    Petitioner argues that the weight of the medical evidence shows that Petitioner suffers

    from a disease that will cause long-term health problems, especially since Petitioner has

    already contracted the disease, and suffers from its symptoms and other recurring health

    problems.

           Petitioner, as an individual who has already contracted the virus, and continues to

    suffer from the long-term consequences of that disease, has entered the ranks of so-called



                                                5
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 6 of 16 PageID #: 2646




   "long-haulers," who will have to deal with the aftermath of his infection for an

   indeterminate length of time.


                   This has become a medically-recognized condition.
          Long Covid challenges common assumptions that were in place in the early
          pandemic and which often persisted despite patient testimony. In the making of
          Long Covid, conventional hierarchies of evidence, and normative routes for
          scientific dissemination were frequently disrupted.

                  The aetiology of Long Covid is currently under scrutiny and may be
          multiple. Definitions of COVID-19 itself remain unstable: the pathology has been
          defined as a respiratory, cardiovascular, endothelial, or systemic condition).
          Whether COVID-19 will, for some, survive viral persistence and develop into a
          disease-specific, chronic or permanent condition, and/or whether SARS-COV-2
          infection generates a new autoimmune disease remains unknown.

          Having this condition increases your chances that your next contraction of the
          virus will find you in a weakened state, with higher chances of morbidity.

   Carli A., Persistent symptoms in patients after acute COVID-. JAMA. 2020;324(6):603-
   605.


    ID. BOP INABILITY OR UNWILLINGNESS TO FOLLOW CDC POLICY AND
     ITS OWN POLICY DIRECTIVES HAVE RESULTED IN MASS INFECTIONS
                 AND PETITIONER CONTRACTING COVID-19


          It is axiomatic that the COVID-19 virus can severely damage lung tissue, which

   requires an extensive period of rehabilitation, and in some cases, can cause a permanent

   loss of respiratory capacity. COVID-19 may also target the heart muscle, causing a

   medical condition called myocarditis, or inflammation of the heart muscle.· Myocarditis

   can affect the heart muscle and electrical system, reducing the heart's ability to pump.

   This reduction can lead to rapid or .abnormal heart rhythms in the short term, and long-

   term heart failure that limits exercise tolerance and the ability to work. People of all ages

   and medical backgrounds who have experienced serious cases of COVID-19 describe




                                                 6
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 7 of 16 PageID #: 2647




   painful symptoms including vomiting, severe diarrhea, relentless shivering, and

   suffocating shortness of breath.

          Emerging evidence suggests that COVID-19 can also trigger an over-response of

   the immune system, further damaging tissues in a cytokine release syndrome that can

   result in widespread damage to other organs, including permanent injury to the kidneys

   and neurological injury. According to a new study cited in the Wall Street Journal this

   month, "the new coronavirus can leave some patients with signs of heart inflammation

   and injury months after they get sick. .. even in cases where their illness wasn't severe."

   Wall Street Journal, September 24, 2020. According to Charles Murry, director of the

   University of Washington's Center for Cardiovascular Biology, "We basically die with

   the heart-muscle cells we're born with, so anything that results in the death of heart

   muscle has the potential to irreversibly damage the heart's mechanical ability and the

   heart's electrical function." The study was published in July, 2020, in the journal JAMA

   Cardiology.

          These complications can manifest at an alarming pace. Individuals can show the

   first symptoms of COVID-19 infection in as little as two days after exposure, and their

   condition can seriously deteriorate in as little as five days or sooner.

          This level of supportive care requires highly specialized equipment that is in

   limited supply, and an entire team of care providers, including 1: 1 or 1:2 nurse to patient

   ratios, respiratory therapists, and intensive care physicians. This level of support can

   quickly exceed local health care resources. This level of medical support does not exist in

   the federal Bureau of Prisons and certainly not at Petitioner's institution. DOJ, Office of

   Inspector General Review ofFCOP Medical Staffing Challenges, at 1, (Mar. 2016).




                                                 7
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 8 of 16 PageID #: 2648




          People who experience serious cases of COVID-19 who do not die from COVID-

   19 should expect a prolonged recovery, including the need for extensive rehabilitation for

   profound reconditioning, loss of digits, neurological damage, and the loss of respiratory

   capacity. Petitioner is currently experiencing just those symptoms, as she struggles to

   breathe, has a chronic cough, experienced headaches, fever, chills, diarrhea, and loss of

   taste, smell, and appetite. She has received no extensive medical testing to determine

   what course of treatment would be most suitable. The long term prognosis for an

   individual with Petitioner's medical condition is guarded, and without specialized medical

   treatment unavailable at Petitioner's institution, would be at a heightened risk of stroke

   and further heart complications.



    IV PETITIONER'S PLACE OF CONFINEMENT HAS VIOLATED MOST CDC
        RULES, FAILED TO PROPERLY QUARANTINE, AND SUBJECTED
      PETITTONER TO UNNECESSARY HEALTH RISKS AND MENTAL AND
                                      PHYSICAL INJURY



          Petitioner argues that the COVID-19 outbreak originated when prisoners

   transferred from other institutions and immediately placed without having been first

   tested or quarantined. Instead of testing all prisoners it chose not to do so, probably to

   keep its positive numbers down. Given the constant intermixing between the housing

   units and common areas it is reasonable to assume that these positive prisoners soon

   spread the disease to the rest of the compound.

          BOP does not test prisoners until they show symptoms. Unfortunately,

   research has shown that the virus is highly contagious, and can be spread by individuals

   who do not show any sign of the disease. This BOP policy means that individuals like



                                                 8
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 9 of 16 PageID #: 2649




   Petitioner are at grave risk of contracting the virus, which is often deadly to people with

   preexisting conditions, according to the national Center for Disease Control (CDC).

           While recent outbreaks in the general population have ebbed and flowed, jails and

   prisons across the country have become virus hot-spots, where the BOP's inability (or

   unwillingness) to control the virus puts the community at which their facilities are located

   at greater risk.

            VI. COVID-19 CONTINUES TO BE A RISK TO THE GENERAL
       POPULATION BUT HAS A MUCH GREATER IMPACT ON PRISONERS


           As the Court well knows, COVID-19 has spread across the globe and throughout

   the United States. Policymakers at every level of government have recognized the dire

   risks ofCOVID-19. On March 11, 2020, the World Health Organization declared

   COVID-19 a global pandemic. Bill Chappell, Corona virus: COVID-19 is Now Officially

   a Pandemic, WHO Says, NPR (Mar. 11, 2020), https://tinyurl.com/tpy4v8s.

           To mitigate the COVID-19 pandemic, governmental authorities in the United

   States have issued guidelines and advice for citizens to follow. For example, the CDC's

   guidance document recommends the following: - "Work or engage in schooling FROM

   HOME whenever possible." - "AVOID SOCIAL GATHERINGS in,groups of more than

   10 people." - "Avoid eating or drinking at bars, restaurants, and food courts." - "AVOID

   DISCRETIONARY TRAVEL, shopping trips, and social visits." - ''DO NOT VISIT

   nursing homes or retirement or long-term care facilities unless to provide critical

   assistance." CDC, The President's Corona virus Guidelines For America at 2 (emphasis

   in original), https://tinyurl.com/v9kngde. ID. The Pandemic's Effect on Communal

   Living Spaces Communal living spaces present especially serious risks related to




                                                9
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 10 of 16 PageID #: 2650




    COVID-19. One highly publicized example is nursing homes. These communities are "at

    risk because residents live in tight proximity, with staff interacting closely with them."

    Jon KaJri_p, Corona virus Outbreaks Spreading in Nursing Homes, The Wall Street

    Journal (Mar. 19, 2020).

           Custodial living spaces, such as prisons and jails, and halfway houses present the

    same risks. Incarcerated individuals are more vulnerable to contract the disease because

    they live in cells with multiple people in close quarters, are regularly required or allowed

    to inhabit communal spaces for eating, bathing, or awaiting transport to or from court,

    and are nearly always in close contact with other people. The active vulnerability of the

    prison population in turn compounds the risk to the public health because lawyers,

    correctional officers, and other staff are coming into and out of the prison and therefore

    can carry to the outside world any diseases that festered inside. Understanding these

    concerns, governmental authorities increasingly are attempting to release prisoners

    affected by COVID-19. See, e.g., Julia Marsh, NYC to begin releasing inmates amid

    coronavirus outbreak, New York Post (Mar. 18, 2020), https://tinyurl.com/trba737.

    Courts around the country are addressing issues relating to incarceration; for example, the

    extension of self-surrender dates due to COVID-19.

                   Emerging evidence suggests that COVID-19 can also trigger an over-

    response of the immune system, further damaging tissues in a cytokine release syndrome

    that can result in widespread damage to other organs, including permanent injury to the

    kidneys and neurological injury.

           These complications can manifest at an alarming pace. Individuals can show the

    first symptoms of COVID-19 infection in as little as two days after exposure, and their




                                                 10
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 11 of 16 PageID #: 2651




    condition can seriously deteriorate in as little as five days or sooner. People can also

    spread COVID-19 but be asymptomatic. Most people who develop serious disease will

    need advanced support. This level of supportive care requires highly specialized

    equipment that is in limited supply, and an entire team of care providers, including 1: 1 or

    1:2 nurse to patient ratios, respiratory therapists, and intensive care physicians. This level

    of support can quickly exceed local health care resources. This level of medical support

    does not exist in the federal Bureau of Prisons and certainly not at Petitioner's institution.

           The need for care, including intensive care, and the likelihood of death, is much

    higher from COVID-19 infection than from influenza. According to.recent estimates, the

    fatality rate of people infected with COVID-19 is about ten times higher than a severe

    seasonal influenza, even in advanced countries with highly effective health care systems.

    For people in the highest risk populations, the fatality rate of COVID-19 infection is

    about 15 percent-ten times the average rate. Preliminary data from China showed that

    20 percent of people in high-risk categories who have contracted COVID-19 there have

    died. People who experience serious cases of COVID-19 who do not die from COVID-

    19 should expect a prolonged recovery, including the need for extensive rehabilitation for

    profound reconditioning, loss of digits, neurological damage, and the loss of respiratory

    capacity.

           In one such case, Wilson v. Williams 20-cv-794, a federal Judge in Cleveland,

    Ohio, Judge James Gwin, granted an injunction compelling officials at the Elkton

    Federal Correctional Institution to identify and release medically vulnerable inmates due

    to the spread of Covid-19. The BOP has proven itself incapable of handling the outbreak,

    and it meager health-care resources are quickly overwhelmed. In FCI Elkton, the Ohio




                                                  11
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 12 of 16 PageID #: 2652




    National Guard had to be called in to take over the medical crisis there that resulted in

    hundreds of sick prisoners and staff and many deaths. At FCI Oakdale, Louisiana, a

    similar failure on the part of BOP medical staff to contain the outbreak required the CDC

    to take over testing and treatment. At FCI Forrest City, the CDC built a tent hospital on

    prison grounds, and after extensive testing CDC has found that over half of the prisoners

    and many staff are COVID-19 positive, and there have also been many deaths. In three

    California BOP facilities, the situation is even more dire. Carswell Federal medical center

    has had more than half of it occupants testing positive.

           According to the BOP website, and California health officials, at Federal

    Correctional Institution Terminal Island, which holds 1,055 prisoners, 570 had tested

    positive for Covid-19, and ten staff members have also tested positive. and two prisoners

    have died. At the same time, the BOP had said that there were at least 50 confirmed cases

    of the virus at Federal Correction Institution Lompoc, including 40 prisoners and 10

    staffers, and at nearby U.S. Penitentiary, Lompoc, 83 inmates and 15 staff have the virus

    and one inmate has died . All testing for the virus at all three facilities was done by the

    Los Angeles Department of Public Healt~ not the BOP. The American Civil Liberties

    Union in numerous court filing across the country has accused the BOP of undercounting

    the extent of its COVID-19 problem, and highlighted the BOP's lack of testing to

    determine the extent of the virus' penetration in the federal prison system.



       V. PETITIONER IF RELEASED WOULD NOT BE A RISK TO REOFFEND

           Petitioner regrets and is remorseful for his wrongdoing and would be the perfect

    candidate for home confinement, and would be supported his large, loving family. He




                                                 12
Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 13 of 16 PageID #: 2653




    would live with his girlfriend, who holds gainful employment, and who has already

    secured lawful employment for Petitioner.

            Section 3582(c)(l )(A)(i) authorizes the modification of a sentence of

    imprisonment if"extraordinary and compelling reasons warrant such reduction" and

    "such a reduction is consistent with applicable policy statements issued by the Sentencing

    Commission," as set out in United States Sentencing Guideline§ lBl.13. This Court has

    discretion to reduce the term of imprisonment imposed in this case based on§ 3582(c)(l

    )(A)(i), which states in relevant part that the Court "may reduce the term of

    imprisonment, after consideration of the factors set forth in section 3553(a)

    to the extent they are applicable, if it finds that extraordinary and compelling reasons

    warrant such a reduction."

           Pursuant to the requirement of 28 U.S.C. § 994(t), as authorized by 28 U.S.C. §

    994(a)(2)(C), the Sentencing Commission promulgated a policy statement that sets out

    the criteria for a reduction in sentencing, which, as set forth in U.S.S.G. § lBl.13

    includes, in relevant part:

    (1 )(A) extraordinary and compelling reasons warrant the reduction;

    the defendant is not a danger to the safety of any other person or to the community, as

    provided in 18 U.S.C. § 3142(g); and the reduction is consistent with this policy

    statement.

           Following the passage of the First Step Act of 2018, during the pandemic, district

    courts across the country have granted sentence reductions under§ 3582(c)(l )(A).

    See United States v. Marin, No. 15-CR-252, Dkt. No. 1326 (E.D.N.Y. Mar. 30, 2020);

    United States v. Muniz, Case No. 4:09-CR-199, Dkt. No. 578 (S.D. Tex. Mar. 30, 20




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Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 14 of 16 PageID #: 2654
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        United States v. Powell, No. No. 1:94-CR-00316 (D.D.C. Mar. 28, 2020); United States

        v. Gonzales, No. 2:18-CR-0232, 2020 WL 1536155 (E.D. Wash. Mar. 31, 2020); United

        States v. Hewitt, No. 3:04-CR-095, Dkt. 91 (N.D. Fla, April 1, 2020); United States v.

        Rodriguez, No. 2:03-CR-00271, Dkt. 136 (E.D.Pa, April 1, 2020); United States v.

        Garcia. No. 95-CR-142, (E.D. Wis., March 27, 2020); United States v. Esparz~ No. l:07-

        CR-294, Dkt. 124 (D. Idaho, April 7, 2020); United States v. Plunk.. No. 3:94-CR- 036

        (D. Alaska, April 9, 2020); United States v. Burrill, No. 3:l 7-CR-491, Dkt. 308

        (N.D.Cal., April 10, 2020); United States v. Ben-Yhwh, No. l:15-CR-830, Dkt. 206 (D.

        Hawaii, April 13, 2020).

                                              CONCLUSION



               For the foregoing reasons, Petitioner requests this Court to grant him a

        compassionate release as permitted by 18 U.S.C. § 3582(c)(l )(A). These circumstances

        demonstrate extraordinary and compelling circumstances to justify a reduction in

        Petitioner's custodial sentence, and asks this Court to reduce the sentence to time served

        with the supervised release condition of home confmement for the remainder of the

        custodial term.

                                                         Respectfully Submitted,

                                                         By:   a~~-                   ~


                                     CERTIFICATE OF SERVICE

                 Petitioner does hereby certify that he caused to be served a true and correct copy
         of this Petition was duly served on all attorneys of record on the I day of February, 2021,
       · through the Prison Mail System.




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    Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 15 of 16 PageID #: 2655

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                                     Case 3:17-cr-00037-DJH Document 274 Filed 02/25/21 Page 16 of 16PRIORITY
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